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UNITED STATES DISTRICT COURT                                            ELECTRONIC, , , ,- FILED
SOUTHERN DISTRICT OF NEW YORK                                           DOC #: _ _ _~
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 UNITED STATES OF AMERICA                                                               '
                                                               PROTECTIVE ORDER
                V.
                                                                   21 Cr. 12 (KMW)
 ERIK FELIZ,

                Defendant.


       Upon the application of the United States of America, Audrey Strauss, Acting United States

Attorney for the Southern District of New York, Assistant United States Attorney Michael R.

Herman, of counsel , and with the consent of defendant ERIK FELIZ, through counsel, for an order

limiting the dissemination of any and all discovery produced in connection with the above-

captioned case, including but not limited to recordings and electronically stored information

("ESI"), pursuant to Federal Rule of Criminal Procedure 16, 18 U.S.C. § 3500, and the

Government's general obligation to produce exculpatory and impeachment material in criminal

cases (the " Discovery"), which contains sensitive information regarding third parties, and for good

cause shown, it is hereby ORDERED that:

        I.     Discovery shall not be disclosed by the defendant or defense counsel, including any

successor counsel ("defense counsel") other than as set forth herein, and shal l be used by defense

counsel and the defendant solely for the purpose of defending this criminal action.

       2.      The defendant and defense counsel are precluded from disseminating any disks

containing the Discovery, and any and all printouts and/or digital versions of the Discovery (and

any copies and/or screenshots) to anyone beyond the defendant, defense counsel, investigative,

secretarial, clerical , and paralegal personnel employed full-time or part-time by defense counsel,

independent expert witnesses, investigators, or advisors retained by the defense counsel in

connection with this action, and other prospective witnesses and their counsel, to the extent
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deemed necessary by defense counsel, for the purpose of defending this criminal action, and such

other persons as hereafter may be authorized by the Court upon motion by the defendant.

       3.      The defendant and defense counsel are precluded from disseminating any disks

containing the Discovery, and any and all printouts and/or digital versions of the Discovery (and

any copies and/or screenshots) to any named defendant who has not yet been apprehended or any

such defendant's counsel.

       4.      The defendant and defense counsel are precluded from using any disks containing

the Discovery, and any and all printouts and/or digital versions of the Discovery (or any copies or

screenshots) for any purpose other than defending this criminal action.

       5.      The defendant and defense counsel must destroy or return any disks containing the

Discovery, and any and all printouts and/or digital versions of the Discovery (including all copies),

at the conclusion of the trial of this matter or when any appeal has terminated and the judgment

has become final , subject to defense counsel ' s obligation to retain client files under the Rules of

Professional Conduct.

       6.      This Order places no restriction on a defendant's use or disclosure of Discovery

materials that originally belonged to the defendant.



                                  [Remainder intentionally blank]




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        7.       The provisions of this Order shall not terminate at the conclusion of this criminal

prosecution, and the Court will retain jurisdiction to enforce this Order following termination of

the case.


Dated: New York, New York
       January 14, 2021

       AUDREY STRAUSS                                    COUNSEL FOR
       Acting United States Attorney                     ERIK FELIZ
       for the Southern District of New York



                                                      By:   A.~fJrdt
            Michael R. Herman                               A.J~sq.
            Assistant United States Attorney




SO ORDERED:




HONORABLE KIMBA M. WOOD
UNITED STATES DISTICT JUDGE




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